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              Case 2:22-cv-00184-LCB-CWB Document 69-14 Filed 05/02/22 Page 1 of 5 = cMsg;
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    Recognising and addressing the mental health needs
    of people experiencing Gender Dysphoria / Gender
    Incongruence
    August 2021

              Position statement 103




    Summary
    This position statement developed by the Royal Australian and New Zealand College of Psychiatrists (RANZCP)
    provides an overview of Gender Dysphoria and highlights the importance of respecting an individual’s gender identity.


    Purpose
    This position statement developed by the Royal Australian and New Zealand College of Psychiatrists (RANZCP)
    provides an overview of Gender Dysphoria and highlights the importance of respecting an individual’s gender identity.
    This statement offers insight into the key issues relevant to the mental health needs of people experiencing Gender
    Dysphoria and guidance is provided on how psychiatrists and mental health services can support individuals
    constructively. People experiencing Gender Dysphoria may experience a disproportionate level of mental illness and
    psychological distress. This position statement makes recommendations for enhancing the mental health sector’s
    responsiveness to these needs.



      Key messages
             Gender Dysphoria is associated with significant distress.
             There are polarised views and mixed evidence regarding treatment options for people presenting with
             gender identity concerns, especially children and young people. It is important to understand the different
             factors, complexities, theories, and research relating to Gender Dysphoria.
             It is important that there is adequate, person-centred care, for the mental health needs of people
             experiencing Gender Dysphoria.
             Psychiatrists play a crucial role in caring for the mental health needs of people experiencing Gender
             Dysphoria.
             Psychiatrists should act in a manner which is supportive, ethical, and non-judgmental.
             Comprehensive assessment is crucial. Assessment and treatment should be evidence-informed, fully
             explore the patient’s gender identity, the context in which this has arisen, other features of mental illness
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         and a thorough assessment of personal and family history. This should lead to a formulation. The
         assessment will be always responsive to and supportive of the person’s needs.
         Psychiatrists must have regard to the relevant laws and professional standards in relation to assessing
         capacity and obtaining consent, including the RANZCP Code of Ethics.
         Gender Dysphoria is an emerging field of research and, at present, there is a paucity of evidence. Better
         evidence in relation to outcomes, especially for children and adolescents is required.



Definition
Gender Dysphoria, as defined in the Diagnostic and Statistical Manual of Mental Disorders, fifth edition (DSM-5),
refers to marked incongruence between one’s experienced or expressed gender and one’s assigned gender,
associated with clinically significant distress or impairment in functioning.[1] Gender Incongruence is defined in the
International Classification of Diseases 11th revision (ICD-11) as is ‘a marked and persistent incongruence between an
individual's experienced gender and the assigned sex’.[2]


Terminology
The RANZCP acknowledges the importance of using appropriate terminology when discussing issues of sexual, sex
and gender identity.[3] Inclusive language engenders respect and promotes visibility for important issues, and this is
integral to improving the health of LGBTIQ+ people.[4] The key terminology section below provides an overview of
some key terms used in Australia and New Zealand.

It is important to be mindful of the importance of individual terminology preferences when talking about someone’s
sexual orientation or gender identity. Using the individual’s preferred terms, especially pronouns, is very important for
trans, gender diverse and non-binary people. Healthcare providers should not refer to someone using terms or
pronouns that are against the individual’s wishes. For example, an individual may wish to be referred to by the
pronouns ‘they and them’ so as to avoid the gendered pronouns ‘she’ and ‘he’, and this should be respected. It is
important to also be aware of the rapidity with which language and terminology can change and develop in this area,
and to consider additional research or inquiry with relevant organisations as appropriate (please refer to the list of
resources below for more information).




  Key Terminology
         Transphobia encompasses a range of negative attitudes and feelings such as hatred, disgust, contempt,
         prejudice and fear towards people who are gender variant.
         Trans, or TGD (trans and gender diverse) are commonly used to describe a broad range of non-
         conforming gender identities or expressions including transgender, agender (having no gender),
         bigender (identifying as both a woman and a man), or non-binary (neither woman nor man). Some
         people may describe themselves as MTF/M2F (male-to-female), FTM/F2M (female-to-male), AFAB
         (assigned female at birth) or AMAB (assigned male at birth). The term genderqueer is used to refer to
         gender identity that does not conform to sociocultural norms. Gender fluid is used to refer to gender
         identity which shifts over time.
         For TGDNB (trans, gender diverse and non-binary) people, preferred pronouns may include ‘he/him’,
         ‘she/her’, ‘they/them’ or neopronouns like ‘zi/zim’.
         Some Aboriginal and Torres Strait Islander peoples use the term sistergirl to refer to sex assigned at birth
         males who live partly or fully as women and brotherboy to refer to sex assigned at birth females who live
         partly or fully as men.[3]
         Takatāpui as a self-descriptor is often used by Māori to describe non-binary gender and/or sexual identity.
         Specific meaning can vary depending on context.[5] There are several Māori words for transgender
         people, including whakawahine (trans woman) and whakatāne (trans man).[6]
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         In Pacific Island cultures, there are a number of gender-diverse identities including the Samoan fa’afafine
         and Tongan fakaleiti.[7]



Background
People experiencing Gender Dysphoria should be supported by mental health services to navigate their experience in
a constructive way. Gender Dysphoria can emerge in a variety of ways. Each case should be assessed by a mental
health professional, which will frequently be a psychiatrist, with the person at the centre of care. It is important the
psychological state and context in which Gender Dysphoria has arisen is explored to assess the most appropriate
treatment.

The views about whether psychiatric diagnosis is warranted for people who experience incongruence of gender
identity are changing.[8] While ‘Gender Dysphoria’ is classified as a mental disorder in DSM-5, ICD-11 classifies the
condition ‘Gender Incongruence’ not as a ‘mental, behavioural and neurodevelopmental disorder’ but as a ‘condition
related to sexual health’.[1, 2] ICD-11 has undergone significant revisions to ensure that disorders relating to sexuality
and gender identity reflect contemporary evidence while appropriately distinguishing between health conditions and
private behaviours.[9]

Gender Dysphoria continues to be widely debated across jurisdictions in Australia and New Zealand. The RANZCP
has developed this position statement from the perspective of psychiatry.


Supporting people experiencing Gender Dysphoria/Gender Incongruence
There is evidence that people who experience incongruence between their gender identity and assigned gender have
higher levels of mental illness than the general population.[10] In a retrospective study, Reisner et al (2015) found
higher rates of depression, anxiety, suicidal ideation and self-harm in youth who identified as transgender.[11]

Data suggest that the number of people seeking help for gender identity issues has increased worldwide, with referrals
to gender clinics increasing across age groups, including amongst children and adolescents.[12, 13] Clinics seeing
young people have also reported an increasing preponderance of sex assigned at birth females among those seeking
intervention and a co-occurrence of autism spectrum disorder and Gender Dysphoria. [14, 15]

Gender Dysphoria emerges in many different ways and is associated with significant distress for those who experience
it. However, Gender Incongruence is not in and of itself pathological. There are polarised views and mixed evidence
regarding treatment options for people presenting with gender identity concerns, especially children and young people.

The World Professional Association for Transgender Health (WPATH) uses the terminology “real life experience”
defining it as “the act of fully adopting a new or evolving gender role or gender presentation in everyday life”.[16] Real
life experience allows transgender individuals who wish to permanently change their gender role, to transition from
imagined experience to a lived experience. This experience can differ between individuals, for some the experience is
liberating, whereas others can experience disappointment due to transition not living up to the desired expectation.[17]


A major challenge for clinicians working with children and adolescents who present for treatment of Gender Dysphoria
is the impact of polarised socio-political discourse on clinical assessment and decision-making. Polarised views can be
unhelpful and can make the task of clinicians assisting young people presenting with complex presentations more
difficult.[18] Whilst these debates must be acknowledged, the most important goal currently is to ensure that there is
adequate care available to meet the mental health needs of people experiencing Gender Dysphoria.


Role of psychiatrists
There are a number of guidelines and resources available which relate to Gender Dysphoria. [19-27] The RANZCP
does not preference any specific guidelines. The RANZCP encourages psychiatrists to be aware there are multiple
perspectives and views.
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There is some evidence to suggest positive psychosocial outcomes for those who are supported in their gender
identity.[28] However, evidence and professional opinion is divided as to whether an affirmative approach should be
taken in relation to treatment of transgender children or whether other approaches are more appropriate.[24]

A gender affirmative approach endorses the belief system that children should be able to ‘live in the gender that feels
most real or comfortable to that child and to express that gender with freedom from restriction, aspersion, or rejection’
therefore the child’s statements regarding their gender identity should not be questioned, but instead accepted.[29]
Affirmative approaches may include consideration of the need for medical treatments including gender affirming
hormones, gonadotrophin releasing hormone analogues (GnRH) (in children and adolescents) and surgery.
Approaches which don’t include medical treatments may focus on utilising psychotherapy to aid individuals with
Gender Dysphoria in exploring their gender identity, and aid alleviation of any co-existing mental health concerns
identified in screening and assessment.[24]

The RANZCP endorses practice which supports and validates the identity, strength, and experience of the individual,
recognising that all experiences of gender are equally healthy and valuable. In all cases, clinicians have a crucial role
in empathetically supporting the individual and family/whānau assertions and lived experiences. The RANZCP
acknowledges the dynamic changes in a child or adolescent’s identity and brain development, appreciating the
inherent complexities in the clinical care and assessment of the individual.

Mental health professionals should acknowledge the concerns of children, adolescents, and their families whilst not
expressing any negative attitudes towards experiences of Gender Dysphoria. Acceptance, and alleviation of secrecy
can provide relief to individuals experiencing Gender Dysphoria as well as their families.[24]

Psychiatric assessment and treatment should be both based on available evidence and allow for full exploration of the
person’s gender identity.[20] The RANZCP emphasises the importance of the psychiatrist’s role to undertake thorough
assessment and evidence-based treatment ideally as part of a multidisciplinary team, especially highlighting co-
existing issues which may need addressing and treating. Psychiatric assessment and treatment must also occur in
accordance with professional standards, and in a way which is person-centred, responsive to and supportive of the
person’s needs. Psychosocial support should be continuously offered and provided to people and their families before,
during and after any treatment to maximise positive mental health outcomes.[20] If appropriate, psychiatrists can
additionally facilitate the assessment of eligibility, preparation and referral for treatment.[24]

Mental health professionals including psychiatrists should maintain a collaborative and multidisciplinary approach to
the treatment of Gender Dysphoria. Psychiatrists should discuss progress and obtain peer consultation from other
professionals competent in the assessment and treatment of Gender Dysphoria, within both mental health and other
medical disciplines.[24]

Health professionals should also be aware of ethical and medicolegal dilemmas in relation to medical and surgical
treatment for people experiencing Gender Dysphoria. Psychiatrists should practise within the relevant laws and
accepted professional standards in relation to assessing capacity and obtaining consent, including the RANZCP Code
of Ethics.[30] Consent and authorisation for children and adolescents to commence GnRH and gender affirming
hormones are subject to specific legislation in Australia and New Zealand. The legal position is rapidly changing, with
the implications for policy and practice differing by jurisdiction. It is important that psychiatrists are aware of the policies
and practices within the jurisdiction in which they work.

Given the complexity of these issues, it is essential that sufficient information is provided to people (and their
family/whānau, or carer where relevant) to enable informed consent.[31] Further, evidence for clinical decisions about
whether a child or adolescent is capable and competent to consent to treatment should be clearly recorded. In all
cases, the risks and benefits of different treatments must be carefully assessed and balanced by the multidisciplinary
team providing care and support to the person experiencing Gender Dysphoria.

Research on Gender Dysphoria is still emerging. At present, there is a paucity of quality evidence on the outcomes of
those presenting with Gender Dysphoria. In particular, there is a need for better evidence in relation to outcomes for
children and young people.[20] The RANZCP supports further research being undertaken into the long-term effects of
medical and surgical affirming treatment in all age groups, including children and adolescents. Findings from the
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Australian Trans20 longitudinal cohort study and Gender identity Longitudinal Experience (GENTLE) cohort study are
expected to improve our understanding.[32, 33] Such research is crucial in ensuring that individuals can safely access
evidence-based therapies for Gender Dysphoria/Gender Incongruence as needed.[34, 35]


Recommendations
The RANZCP recommends the following actions to support the mental health needs of people experiencing Gender
Dysphoria/Gender Incongruence:

       Psychiatrists should engage with people experiencing Gender Dysphoria in a way which is person-centred,
       non-judgmental and cares for their mental health needs.
       Assessment and treatment should be based on the best available evidence and fully explore the person’s
       gender identity and the biopsychosocial context from which this has emerged.
       Health services should take steps to accommodate the needs and ensure the cultural safety of people
       experiencing Gender Dysphoria/Gender Incongruence.
       Further research should be supported and funded in relation to wellbeing and quality of life during and after
       medical and surgical interventions for Gender Dysphoria/Gender Incongruence.


Further reading
Royal Australian and New Zealand College of Psychiatrists Position Statement 83: Recognising and addressing the
mental health needs of the LGBTIQ+ population

Responsible committee: Practice, Policy and Partnerships Committee


References 


Disclaimer: This information is intended to provide general guidance to practitioners, and should not be relied on as a
substitute for proper assessment with respect to the merits of each case and the needs of the patient. The RANZCP
endeavours to ensure that information is accurate and current at the time of preparation, but takes no responsibility for
matters arising from changed circumstances, information or material that may have become subsequently available.
